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                              IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF PUERTO RICO

         IN RE
                                                            BANKRUPTCY 19-04523 BKT
         CARLOS J. SOTO GONZALEZ
         PO Box 142776                                      CHAPTER 7
         Arecibo 00614
         SSN #2572
         Debtor

                       MOTION FOR RULE 2004 PRODUCTION OF DOCUMENTS



       TO THE HONORABLE COURT:

               COMES NOW DSO creditor, BRENDA PEREZ and pursuant to FRBP 2004, the undersigned
       on her behalf, respectfully requests the Court to order a production of documents as follows:

               1.      Witness to be commanded to produce documents: CARLOS J SOTO GONZALEZ.
               2.      Date: 4/3/2020
               3.      Time: 3:00 p.m.
               4.      Place: Urb Villa Blanca, 76 Aquamarina, Caguas, Puerto Rico 00725-1908, or by
       electronic transmission or by mail or Messenger.
               5.      Scope of production: Any and all matters within the scope of FRBP 2004(b) and any
       matters relating to the financial condition of the debtor including the source of money acquired by the
       debtor prior to the bankruptcy petition and any other matter, but not limited, and relevant to the case.
               6.      Documents to be produced:
               a) Produce individual Tax Returns [state & federal] 2018, 2017, 2016, 2015, 2014 and 2013
                  with all attachments.

               b) Produce business Tax Returns [state & federal] 2018, 2017, 2016, 2015, and 2014, as
                  required, for any business(es), corporation(s) [professional or otherwise] &/or
                  partnership(s) in which you have an interest or participation, or have been employed with
                  all attachments, particularly CJK DEV CORP, or any other business in which you have
                  owned, been employed, specifically but not exclusively with regard to DBS DEV CORP.
                  and KRATOS INC. or held an interest, in whatever capacity.

               c) Were you employed, or in any capacity, related to CJK DEV CORP? State the relationship
                  to, capacity and/or interest with this corporation.


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            d) Were you employed, or in any capacity, related to DBS DEV CORP? State the relationship
               to, capacity and/or interest with this corporation and years thereto.

            e) Were you employed, or in any other capacity, related to Car & Sons Development Corp?
               State the relationship to, capacity and/or interest with this corporation and years thereto.

                            i. Do any of the rents &/or income received by this corporation paid to you
                               or in any other capacity benefit you personally?

            f) Are you employed, or in any other capacity, related to KRATOS CORP? State the
               relationship, capacity and/or interest or employment with this corporation and years
               thereto.

            g) Produce name of all business(es), corporations &/or partnerships in which you have held
               or owned an interest in whatever capacity or interest during the last 6 years [2014-2019]
               and indicate your salary, incentives, expense accounts, or any other benefits in the capacity
               of owner, officer, employee or contractor specifically DBS Dev. Corp, Car & Sons Dev
               Corp., Kratos Corp, but not limited to these corporations.

            h) Produce name & address of owner [including yourself] of property in which you have
               owned, lived, resided &/or rented or held an interest of any kind during the last 7 years
               2020, 2019, 2018, 2017, 2016, 2015 & 2014.

            i) Produce copy(ies) of lease contract(s), deed(s) and/or cancelled checks in payment of rent
               &/or mortgage in any or all properties in which you have owned, lived, resided &/or
               rented during the last 7 years: 2020, 2019, 2018, 2017, 2016, 2015 & 2014 as required in
               item #h. Include those paid by any person who lives with you. Also include rentals for
               which you are beneficiary in whatever capacity or concept and/or under another’s name.

            j) Produce names with addresses of all entities or contracts for which you have worked or
               serviced in any and all capacities individually or through a business, corporation or
               partnership or as an employee during the last 7 years as of March 2020, all of 2019, all of
               2018, all of 2017, all 2016, all of 2015 and all of 2014.

            k) Produce, detail & list evidence of all your income &/or commissions received and/or
               generated & not yet paid during the 12 months immediately before filing your petition in
               bankruptcy on 8/9/2019 & through March 2020.

            l) Produce bank statements of all bank(s) [including Cooperatives, Savings, Checking]
               Annuity or any Investment accounts which you have held individually or in business,
               corporation &/or partnership or in joint bank/Annuity/Investment accounts with


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               another during the last 6 years as of March 2020, 2019, all of 2018, all of 2017, all of 2016,
               all of 2015 & all of 2014.

            m) Produce credit card statements of all credit cards which you have held or in which you
               hold or share a credit card on another’s account during 2014 through 2020.

            n) Produce, detail, list all credit card issuer/creditor, with address & account numbers, which
               you have held or in which you make use of a credit card during 2014 through March 2020
               including for or related to your employment or for personal use.

            o) Produce, detail and describe the property in which you now reside to whomever it is titled
               or rented, including superficial size and Registry number, lot number, page number.

            p) Produce names and addresses of any and all bookkeepers and/or accountants used
               personally and/or in any of your businesses, corporations or partnerships, including where
               you have been employed during 6 years immediately preceding the bankruptcy filing.

            q) Produce, list and describe names, addresses, taxpayer-identification numbers, nature of the
               business(es), beginning and ending dates of all business(es) in which the debtor is or was
               an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or is or was self-employed in a trade, profession, or other
               activity either full or part time within seven years immediately preceding the
               commencement of this case, or in which debtor owns or owned 5 percent or more of the
               voting or equity securities within 6 years immediately preceding the commencement of
               this case.

                            i. If the debtor is or has been in a partnership, list the names, addresses,
                               taxpayer identification number(s), nature of the business(es), and
                               beginning and ending dated of all business(es) in which the debtor is or
                               was a partner or owned 5 percent or more of the voting or equity securities,
                               within 6 years immediately preceding the commencement of the case;

                            ii. If the debtor has a corporation, list the name(s), address(es), taxpayer
                                identification numbers, nature of the business(es), and beginning and
                                ending dates of all business(es) in which the debtor is or was a partner or
                                owns or owned 5 percent or more of the voting or equity securities within
                                6 years immediately preceding the commencement of this case, or holds
                                or held any interest.

            r) How many employees work for or are employed by Kratos Corp, and/or your current
               employer DBS Development Corp., including yourself?


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              s) Produce names, addresses of the contracts for construction, repairs, or maintenance held
                 by Kratos Corp. and/or your current employer DBS Development Corp., during the last
                 15 months.

              t) Where is this address: SR #2, Cruce Davila, Barceloneta 00617?

              u) Whose electronic mail address is: joaquinvazquezbrioso@yahoo.com

              v) Whose telephone is 787-245-9863?

              w) Whose property is located at Las Veredas, C-16 Calle Laureles, Camuy 00627?

              x) Do you continue to use the services of Marietta Matos, CPA 177 Via del Rocio, Valle San
                 Luis, Caguas 00725?

              y) Inform your residential [physical] address during the last 7 years, including your present
                 physical residential address:

                      a. Indicate who the title owner is of each property and in what capacity you reside or
                         resided therein;
                      b. Indicate the amount of rent or mortgage payment on each of the properties at
                         which you have resided in for the last 7 years;
                      c. Indicate who has paid the rent or mortgage on each of these properties in which
                         you have resided in during the last 7 years;

              z) List all your places of employment, position, your relation if any, with the business or
                 corporation, during the last 7 years from 2014 forward until 2020.

              aa) Indicate where the equipment, machinery or other assets you or DJK Dev Corp owned
                  and used are located and/or disposition of these when you dissolved this corporation in
                  2014?

              7.      Time, Date and Place of Production (if different from examination): N/A

              8.      Movant’s calculation of mileage pursuant to FRBP 2004(e): N/A
                    CERTIFICATION BY COUNSEL OF ATTEMPT TO RESOLVE

              9.      The undersigned has conferenced with Ms. Michelle Rivera Colon, Esq., on October 31,
       2019 but has not since that date either answered nor has advised that she does not oppose this Motion
       and will agree to produce the documents described herein without the formal service of subpoena duces

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       tecum pursuant to FRBP 9016; a copy of Subpoena for Production of Documents has electronically been emailed
       to counsel with the list of the documents for which production is requested in anticipation of our motion.


                              CERTIFICATION OF SERVICE BY MAIL ON DEBTOR
               10.     Also, on this same date a copy of the same was mailed to debtor at PO Box 142776,
       Arecibo 00614, as well as a copy has been hand delivered personally to the debtor; upon belief a copy has
       been electronically noticed to the Chapter 7 Trustee and all participants in CmEcf.

       DATED: March 5, 2020
                                               RESPECTFULLY SUBMITTED,

                                               s/LA Morales

                                               LYSSETTE A MORALES VIDAL
                                               USDC PR #120011

                                               L.A. MORALES & ASSOCIATES P.S.C.
                                               URB VILLA BLANCA
                                               #76 AQUAMARINA STREET
                                               CAGUAS PUERTO RICO 00725-1908
                                               TEL (787)746-2434 eFAX 855-298-2515
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                                               On behalf of DSO Creditor BRENDA L. PEREZ ROMERO




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